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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )                                No. 22-CR-10141
                                    )
SEAN O’DONOVAN,                     )
            Defendant               )
                                    )
___________________________________ )

       MOTION TO DISMISS FOR OUTRAGEOUS GOVERNMENT CONDUCT

       Now comes the defendant Sean O’Donovan, by and through undersigned counsel, and,

pursuant to the Fifth Amendment Due Process Clause, hereby respectfully moves this Honorable

Court to dismiss the Indictment in the above-captioned matter due to a violation of his Due

Process rights resulting from government investigators’ attempts to unilaterally manufacture a

bribery case from his lawful and constitutionally protected efforts to represent a client and to

lobby municipal officials in a manner not prohibited by state or federal law.

       The charges in this case stem from an effort by Mr. O’Donovan, a practicing attorney, to

lobby the Medford Chief of Police (“Chief”), who was also one of five members of the Cannabis

Advisory Committee (“CAC”), on behalf of a Client applying for marijuana licensure. The First

Amendment to the U.S. Constitution protects the rights of Mr. O’Donovan and his Client to

lobby government officials in this manner. See Dkt. 19 at 15-16; Citizens United v. FEC, 558

U.S. 310, 369 (2010). At no time did Mr. O’Donovan offer or give anything of value or attempt

or conspire to give anything of value to the Chief, the only individual alleged to have owed a

duty of honest services to the City as required by 18 U.S.C. § 1346 and the only individual who

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had the power as a public official to agree to exchange an “official act” for a benefit as required

by 18 U.S.C. § 666. To the contrary, there is no indication that Mr. O’Donovan had any

communications whatsoever with the Chief. Investigators’ attempt to manufacture a bribery

scheme, therefore, relied almost exclusively upon their cooperator, Individual 1. While Mr.

O’Donovan requested that Individual 1 lobby the Chief, Individual 1’s close relative, and while

Mr. O’Donovan proposed compensating Individual 1 through a consulting position to assist Mr.

O’Donovan and/or Mr. O’Donovan’s Client if the Client’s application for cannabis licensing was

accepted by the City of Medford, no portion of that payment was intended to benefit the Chief,

much less to bribe him. And, most crucially, Mr. O’Donovan was both adamant and consistent

that he merely wanted Individual 1 to ask the Chief to look at the Client’s application and

evaluate it on the merits, and, if he believed in the bona fides of the application, to advocate for it

with the Mayor. Multiple times Mr. O’Donovan told Individual 1 that if the Chief did not

believe his Client merited support, Mr. O’Donovan would cease any attempt to petition him for

his support for his Client. Months after Mr. O’Donovan’s initial request, investigators directed

Individual 1 to initiate meetings with Mr. O’Donovan at which Individual 1 was to inject facts

invented by the FBI into the discussion: that the Chief had decided to change his vote and rank

the Client first based on Mr. O'Donovan’s payment of a fee to his close relative.

       Investigators’ attempt to create a crime, for the sole purpose of prosecuting Mr.

O’Donovan, constitutes outrageous government conduct warranting dismissal under the Due

Process Clause. This is especially so in light of the constitutionally protected nature of the

proposed lobbying activity, the particular context of an attorney-client relationship requiring Mr.

O’Donovan to zealously pursue all lawful means of advancing the Client’s interests, and the


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recorded conversations between Mr. O’Donovan and Individual 1 which demonstrate that Mr.

O’Donovan’s intent was never to attempt to corrupt the public official and only to have

Individual 1 advocate in good faith based on the merits of the Client’s application for a city

cannabis license.

                             REQUEST FOR ORAL ARGUMENT

       Mr. O’Donovan respectfully requests that oral argument be held on this Motion.

                                  MEMORANDUM OF LAW

A.     Background

       On February 10, 2021, Mr. O’Donovan asked Individual 1 if he would talk to his close

relative the Chief about the Client. See Dkt. 1 ¶ 24. Mr. O’Donovan made clear during this

initial meeting that he did not want to ask the Chief for any favors. Rather, he simply wanted the

Chief to look at the Client’s application. Mr. O’Donovan proposed paying Individual 1 $25,000

for his efforts. After speaking with the Chief, Individual 1 decided to report the situation to the

FBI. “Individual 1 agreed to allow the FBI to record all [subsequent] telephone calls and in-

person meetings” he had with Mr. O’Donovan, as well as to provide all his text messages with

Mr. O’Donovan to the FBI. Dkt. 1 ¶ 25.

       At a February 22, 2021 meeting, Mr. O’Donovan explained to Individual 1, “I wanna try

to get the edge ‘cause I know everybody’s trying to get it. However they’re trying to get in, to

get the edge.”1 (Emphasis added). Mr. O’Donovan noted that the Chief “has the mayor’s ear”




1
  Quotations from recorded meetings are based on draft transcripts produced by the government
in discovery subject to the caveat that if there were revisions before they were finalized, there
would be no reliance on the drafts. The current drafts appear to be those that were relied upon by
the government in drafting its Indictment.
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and Mr. O’Donovan wanted the Chief to give his Client “a really good shake.”           Mr. O’Donovan

emphasized the strength of the Client’s application saying to Individual 1, “I would never

embarrass you. . . . And I wouldn’t waste my time.” In fact, Mr. O’Donovan’s belief in the

merits of his Client’s application was proven to be entirely accurate: the CAC would ultimately

rank the Client first in combined scoring, a ranking it achieved without any intervention by the

Chief who never even learned the Client’s identity. See Dkt. 1 ¶¶ 25, 41. Mr. O’Donovan

reiterated the offer to pay Individual 1 $25,000, or possibly $50,000, not solely to compensate

Individual 1 for his lobbying efforts but for his future work via a future consulting contract to

assist Mr. O’Donovan or his Client in their ongoing business if the application was approved.

        When more than two months passed without any follow-up meeting, investigators asked

Individual 1 to schedule one. At the outset of that meeting, held April 26, 2021, Individual one

told Mr. O’Donovan, “just haven’t heard from you so I wanted to check in.” Individual 1

claimed that he had started to broach the issue with the Chief. The Chief “didn’t say no,” but the

conversation was interrupted shortly thereafter. Mr. O’Donovan suggested that “maybe the best

thing to do is just wait it out and see, make sure my [Client] files first of all . . . . But thank you

for talking to him. I mean, we’ll see what happens.” Mr. O’Donovan stated that he had always

known the Chief to be “as straight and honest as they get.” He expressed concern that others

would use political influence to undermine the strength of his Client’s application saying, “if

you’re the type of person that thinks that [the Mayor] isn’t gonna pick some people that she likes,

you’re . . . crazy.” Mr. O’Donovan told Individual 1, “you know what goes into it. You paint

the picture so you can hide behind the . . . curtain, you do whatever . . . you want. And I don’t

blame her, if I was the mayor and you were my . . . Chief of Staff, I’d say . . . this is who’s


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getting it and I’ll leave you to make sure (UI), you know. They deserve it, I want them to have

it. . . . For whatever the reason, then you do it.” Mr. O’Donovan reiterated that the Mayor

“likes” and “trusts” the Chief, “[s]o, if she’s gonna decide who she’s gonna give it to if [the

Chief] votes for our guy it’ll help. . . . [H]e doesn’t have to say a word to her.” Again, Mr.

O’Donovan emphasized the merits of the Client’s application and indicated that he was not

looking for any special consideration: “I guarantee you if [the Chief] gives [the Client] a good

look, he’s gonna like ‘em. And that’s all I’m asking for.” Mr. O’Donovan expressed concern

that, absent Individual 1’s efforts, “no one’s gonna look at” the applications. Mr. O’Donovan

went on to suggest that Individual 1 tell the Chief if the Client’s application “sucks, don’t vote

for ‘em.”

        Text messages in the ensuing months reinforce the fact that Mr. O’Donovan was not

requesting any special consideration, much less attempting to bribe the Chief. On August 28,

2021, he texted Individual 1 to tell the Chief to “vote [the Client] #1 as they are the best

candidate for Medford legitimately.” As they were proven to be. On September 13, 2021, he

texted again, “We simply need [the Chief] to score us high. It’s the best application in the group

so it should [not] be difficult frankly.”

        The next recorded meeting was almost five months after the previous one, on September

14, 2021. Individual 1 (not Mr. O’Donovan) requested the meeting on the fictional premise that

he had seen the Chief at a family wedding, and the Chief mentioned having been approached by

someone on behalf of another applicant. Mr. O’Donovan asked whether the Chief knew his

Client was a “good applicant” adding, “[t]hey’re the best.” He later suggested Individual 1 tell

the Chief, “if he was gonna vote for them anyway and you’re giving them a high vote that’s what


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I’m looking for.” Mr. O’Donovan reassured Individual 1, “you can tell [the Chief] I said this,

they will not be embarrassed. Will not happen. . . . I’m telling you this, this is a top notch

organization.” Again, Mr. O’Donovan expressed the concern that other less qualified applicants

would use politics in an attempt to overcome his Client: “there’s going to be some inside angles

here, coming in from people over there. . . . That’s why I’m talking to you.” Individual 1,

unprompted by Mr. O’Donovan, volunteered that he told the Chief about the proposed payment.

Individual 1 then requested payment in cash rather than check asking, “[n]othing’s that’s [sic]

going to trace right?” On information and belief, this request for cash payment and ensuing

demands to expedite payment rather than defer it so it was subject to a subsequent consulting

agreement were all scripted by the FBI.

       At a subsequent September 29, 2021 meeting, about seven and a half months after the

beginning of his conversations with Mr. O’Donovan and at the express “direction of the FBI,”

Dkt. 1 ¶ 35, Individual 1 told Mr. O’Donovan that the Chief had originally not ranked the Client

among his top three applicants, but “[b]ecause I’m getting paid . . . [h]e’s gonna change the

ranking . . . [h]e’s going to move them top, number one.” Mr. O’Donovan responded,

“[p]erfect.” Individual 1 requested a partial payment up-front as “proof that something’s

happening.” Mr. O’Donovan made clear that the full payment would only be due “upon

successful completion.” He explained to Individual 1, “you were in politics, you were here in

the city, . . . you campaigned, that’s what this is, this is like a mini campaign.” Mr. O’Donovan

later told Individual 1, “you’d have to be hired as a consultant” to receive the full payment. On

October 11, 2021, Mr. O’Donovan succumbing to Individual 1’s FBI-directed demands paid




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Individual 1 $2,000 cash, stating that he would pay a total of $15,000 in the event the Client’s

application was successful.

B.     Argument

       “Law enforcement conduct encroaches on a defendant’s due process rights if it violates

‘fundamental fairness’ and ‘shock[s] . . . the universal sense of justice.’” United States v.

Anzalone, 923 F.3d 1, 5 (1st Cir. 2019) (quoting United States v. Russell, 411 U.S. 423, 432

(1973)). Claims alleging such “outrageous government conduct” must be considered

“holistically, evaluating the totality of the relevant circumstances while recognizing that

outrageousness, by its nature, requires an ad hoc determination that cannot usefully be broken

down into a series of discrete components.” Id. at 5-6 (citation omitted). Dismissal of criminal

charges may, for example, be warranted where “law enforcement personnel become so

overinvolved in a felonious venture that they can fairly be said either to have creat[ed] the crime

or to have coerc[ed] the defendant’s participation in it.” Id. at 6 (citation omitted).

       That is precisely what happened here. From his initial proposal on February 10, 2021

until the September 29, 2021 meeting, Mr. O’Donovan was clear and consistent in his requests to

Individual 1: that he ask the Chief to give the Client’s application fair consideration and nothing

more. Mr. O’Donovan was equally consistent expressing his own belief in the merits of the

application. This is lawful activity, protected by the First Amendment. See Dkt. 19 at 15-16;

Citizens United v. FEC, 558 U.S. 310, 369 (2010).

       Mr. O’Donovan’s proposal to pay Individual 1 for his efforts does nothing to change this

fact. It is a self-evident truth to anyone remotely involved in politics that lobbyists are paid. A

public official’s mere awareness of that fact cannot, therefore, transform lobbying into bribery.


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Another obvious truth is that lobbyists often have some relationship to the officials they are hired

to lobby. These relationships are what make lobbyists effective. A list of “50 Top Lobbyists”

compiled by the Washingtonian indicates that most previously worked in government positions.

See Kim Eisler, Hired Guns: The City’s 50 Top Lobbyists (June 1, 2007), available at

https://www.washingtonian.com/2007/06/01/hired-guns-the-citys-50-top-lobbyists/. More

recently, nearly half of the members of Congress who left office in January 2019 have taken

lobbying positions. See Revolving Door: Former Members of the 115th Congress, OpenSecrets,

available at https://bit.ly/3RKAhL6. After elections, stakeholders change lobbyists to target new

officials. See Jordi Blanes i Vidal et al., Revolving Door Lobbyists, 102 Am. Econ. Rev. 3731,

3732 (2012) (noting that lobbyists who had worked for senators suffered an average 24% drop in

income when the senator left office). This is, in a sense, the very definition of lobbying:

individuals being “sought out and paid to use their influence in the government to achieve their

clients’ ends.” United States v. McClain, 934 F.2d 822, 831 (7th Cir. 1991).

       In essence, the present Indictment seeks to criminalize this particular lobbying

arrangement because, and only because, of Individual 1’s familial relationship with the Chief.

But the arrangement proposed by Mr. O’Donovan falls comfortably within the category of

constitutionally protected lobbying. There is no meaningful difference between hiring a family

member, as opposed to a friend or former aide or ally, to lobby a public official. Paying any

such individuals does not violate the criminal statutes at issue here unless it is intended as part of

a quid pro quo exchange with the public official. As private citizens, neither Mr. O’Donovan

nor Individual 1 owed any fiduciary duty to the City of Medford. See United States v. Murphy,

323 F.3d 102, 117 (3d Cir. 2003) (“Without any legal basis for determining whether [the] County


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or its citizens had a right to [the defendant’s] honest services, we conclude that it was improper

for the District Court to allow the jury to conjure such a duty out of a fog of assumptions.”). By

definition, neither was capable of performing or promising the type of “official act” required for

a bribery conviction. See generally McDonnell v. United States, 579 U.S. 550, 566-574 (2016).

Rather, they were constitutionally entitled to petition the government in service of their own self-

interests. “Of course, we should all hope that public affairs are conducted honestly and on behalf

of the entire citizenry.” United States v. Margiotta, 688 F.2d 108, 143 (2d Cir. 1982) (Winter, J.,

dissenting). But, at the same time, “we should recognize that a pluralistic political system

assumes politically active persons will pursue power and self-interest” and “shudder at the

prospect of partisan political activists being indicted for failing to act ‘impartially’ in influencing

governmental acts.” Id.; see also Daniel J. Hurson, Limiting the Federal Mail Fraud Statute – A

Legislative Approach, 20 Am. Crim. L. Rev. 423, 440 (1983) (“Unlike elected officials, few

political leaders, lobbyists, influence peddlers, or activists hold themselves out as acting for the

general welfare of all citizens.”).

        It is also important to note that neither Massachusetts nor the City of Medford has seen fit

to prohibit lobbying by family members when petitioning city or town municipal officials in

circumstances such as those at issue. To the contrary, the legal burden is placed exclusively on

the public official to make disclosures when a family member is known to have a financial

interest in any matter involving the official’s decision-making. Accordingly, manufacturing a

federal crime in these circumstances not only risks chilling protected First Amendment activity,

but also infringes upon the states’ “prerogative to regulate the permissible scope of interactions

between state officials and their constituents.” McDonnell, 579 U.S. at 576. In other words, this


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case represents an impermissible attempt by federal authorities “to set[] standards of disclosure

and good government for local and state officials.” Kelly v. United States, 140 S. Ct. 1565, 1571

(2020) (citation omitted).

       Until Individual 1’s fictitious statement at the September 29, 2021 meeting, there was no

suggestion by Mr. O’Donovan or anyone else that the proposed payment to Individual 1 was for

the Chief’s vote, as opposed to payment for lobbying and/or consulting work, i.e. to advocate for

a Client and to make requests that the Client’s application be carefully reviewed and, if and only

if it was merited, supported. Accordingly, it is clear that investigators, not Mr. O’Donovan or

any alleged co-conspirator, “creat[ed]” the alleged bribery scheme underpinning all of the

charges in this case. Anzalone, 923 F.3d at 6 (citation omitted). In other words, “government

agents [attempted to] generate[] new crimes by the defendant merely for the sake of pressing

criminal charges against him.” United States v. Twigg, 588 F.2d 373, 381 (3d Cir. 1978).

“Fundamental fairness does not permit [the Court] to countenance such actions by law

enforcement officials and prosecution for a crime so fomented by them will be barred.” Id.

(holding that dismissal for outrageous government conduct was required where cooperator

“suggested [to the defendant] the establishment of a speed laboratory,” government and

cooperator provided most supplies, government found location for lab, and cooperator was in

charge of operating lab at no cost to defendants);2 see also United States v. Mosley, 965 F.2d



2
 While the First Circuit has noted a subsequent Third Circuit opinion questioning the vitality of
Twigg, see United States v. Luisi, 482 F.3d 43, 59 n.19 (1st Cir. 2007), the broad proposition for
which it is cited above, that Due Process prevents the government from creating crime for the
sole purpose of prosecuting a defendant, is entirely consistent with the other authorities cited
below as well as the First Circuit’s own description of the outrageous government conduct
doctrine.

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906, 911 (10th Cir. 1992) (“Where the government essentially generates new crime for the

purpose of prosecuting it or induces a defendant to become involved for the first time in certain

criminal activity, as opposed to merely interposing itself in an ongoing criminal enterprise, such

conduct has occasionally been held to be outrageous.”); Greene v. United States, 454 F.2d 783,

787 (9th Cir. 1971) (“[W]hen the Government permits itself to become enmeshed in criminal

activity, from beginning to end, . . . the same underlying objections which render entrapment

repugnant to American criminal justice are operative.”);3 United States v. Lofstead, 574 F. Supp.

3d 831, 849 (D. Nev. 2021) (dismissing attempted sex trafficking charge where “law

enforcement manufactured the entire crime from start to finish: first by creating the fictitious

profile, then altering the poster’s age, and finally encouraging [the defendant] to continue with an

in-person meeting after he showed hesitation”); United States v. Batres-Santolino, 521 F. Supp.

744, 751 (N.D. Cal. 1981) (“[G]overnment agents ‘manufactured’ a crime that this court

concludes could not and would not have been committed if [the agent] had not inveigled

defendants into it and offered to provide them with an otherwise unavailable source of supply of

the illegal drug they were to import.”). Here, as in the above-cited cases, the government sought

to “deceptively implant[] the criminal design” in Mr. O’Donovan’s “mind” by presenting him

with a fictitious scenario that it believed constituted bribery. Twigg, 588 F.2d at 381. “Such




3
  As another judge of this Court has observed, “outrageous misconduct based on government
inducement of crime functions as a ‘supplement’ to an entrapment defense.” United States v.
George, 839 F. Supp. 2d 430, 438 (D. Mass. 2012) (citation omitted). Rather than “look[ing] to
the defendant’s state of mind and criminal propensities” as in the entrapment context, “the
defense of outrageous conduct looks to the government’s conduct with respect to the charged
offense . . . . While entrapment presents an issue of fact, outrageous misconduct based on
government inducement presents a defense at law appropriately decided on a motion to dismiss.”
Id. at 438-39. Mr. O’Donovan reserves the right to raise an entrapment defense at trial.
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conduct serves no deterrent purpose, . . . as there is no indication a crime would have been

committed without the government’s involvement.” Lofstead, 574 F. Supp.3d at 850.

       This is, notably, not a case in which the government penetrated an existing criminal

enterprise, or where the defendant unknowingly sought out a government cooperator for

participation in criminal conduct. Cf. United States v. Therrien, 847 F.3d 9, 14 (1st Cir. 2017)

(noting that defense is not applicable “each time the government acts deceptively or participates

in a crime that it is investigating” (citation omitted)). Far from actively participating in the

government-created alleged crimes, Mr. O’Donovan merely failed to reject the scripted fiction of

the Chief’s feigned decision to act based on the fact of payment to Individual 1 when such

action, supporting Mr. O’Donovan’s Client, was clearly consistent with a fair and impartial

review of the Client’s application. Cf. id. at 15 (citing defendant’s “active involvement” in

offense as undermining claim). In fact, the Chief never informed Individual 1 he was changing

his vote or supporting Mr. O’Donovan’s Client because Individual 1 was receiving a lobbying-

related fee; instead, despite the FBI’s scripted fictions, the Chief supported Mr. O’Donovan’s

Client solely on the merits of the application. See Dkt. 1 ¶¶ 25, 41.

       Investigators’ conduct is rendered particularly “coerc[ive]” in light of Mr. O’Donovan’s

role as an attorney representing the Client. Anzalone, 923 F.3d at 6 (citation omitted). In this

capacity, Mr. O’Donovan was duty-bound to represent the Client “zealously within the bounds

of the law.” Mass. R. Pof’l Conduct 1.3; see also Comment 1 (requiring attorney to “take

whatever lawful and ethical measures are required to vindicate a client’s cause or endeavor” and

to “act with commitment and dedication to the interests of the client and with zeal in advocacy

upon the client’s behalf”). More than seven months after Mr. O’Donovan proposed hiring


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Individual 1 to lobby the Chief, Individual 1 unilaterally indicated that the Chief had agreed to

change his vote because Individual 1 was to receive a fee. Mr. O’Donovan’s failure to reject this

unsolicited development, which was highly favorable to his Client, and consistent with Mr.

O’Donovan’s frequently expressed belief that his Client deserved to be the top ranked candidate

on the merits of his application, does not constitute quid pro quo bribery. See Dkt. 19 at 18. To

do otherwise would have been to jeopardize the Client’s application and risk breaching his duty

of loyalty.

        As context for this Motion, the Court should also consider the following clarifications

regarding the Indictment:

              •   ¶ 4: Asserts that the Chief “could not legally participate in a particular municipal
                  matter in which, to his knowledge, his immediate family member had a financial
                  interest.” In fact, as explained in the pending Motion to Dismiss, state law
                  expressly allowed the Chief to participate provided he disclosed the interest and
                  obtained approval. See Dkt. 19 at 13.

              •   ¶ 20: Alleges that, as part of unlawful “scheme,” Mr. O’Donovan and Individual 1
                  “met in parking lots and outside of various homes.” Contrary to the suggestion
                  that the meeting locations were selected for a nefarious purpose, the transcripts of
                  recorded conversations make clear that this was an understandable effort to avoid
                  spreading COVID-19 during the height of the pandemic. At the outset of the
                  April 26, 2021 meeting, for example, Mr. O’Donovan explained that he did not
                  want Individual 1, who was unvaccinated, to enter the home he shared with his
                  elderly mother-in-law.

              •   ¶¶ 22c, 34: Repeatedly relies on Mr. O’Donovan’s alleged proposal that “[i]f I
                  give you cash, there will be no trace.” This allegation omits that, immediately
                  prior to this statement by Mr. O’Donovan, Individual 1 stated his preference for
                  payment in cash and asked, “[n]othing’s that’s [sic] going to trace right?” In
                  context, Mr. O’Donovan’s statement cannot be fairly construed as a proposal on
                  his part that payment be made in cash.

              •   ¶ 28: Suggests Mr. O’Donovan’s statement about “hid[ing] behind the . . .
                  curtain” referred to Individual 1. In fact, in context, it is clear that the statement
                  referred to the Mayor’s selection of applicants. The statement was immediately
                  followed by, “And I don’t blame her, if I was the mayor and you were my . . .
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               Chief of Staff, I’d say . . . this is who’s getting it and I’ll leave you to make sure
               (UI), you know.”

           •   ¶ 33: Quotes Mr. O’Donovan’s text saying, “[w]e simply need [the Chief] to score
               us high,” omitting the remainder of the text adding, “[i]t’s the best application in
               the group so it should [not] be difficult frankly.”

       For the foregoing reasons, Mr. O’Donovan respectfully requests that this Honorable

Court dismiss the Indictment in this case for outrageous government conduct.

                       COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       Undersigned counsel conferred with the Government, and the Government opposes the

relief requested in this Motion.

                                                       Respectfully Submitted,
                                                       SEAN O’DONOVAN
                                                       By His Attorney,

                                                       /s/ Martin G. Weinberg
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Dated: September 8, 2022




                                   CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, September 8, 2022, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.
                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg, Esq.




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